Case 6:1€§-cv-OO499-KNl\/l Document 1-1 Filed 06/09/16 Page 1 of 10 PagelD #: 5

16-00142 Filed 5/16/2016 10:22:50 PN|
Karen L. V\nlson
V_an Zandt County ~ District Clerk Dlstrict Clerk
Van Zandt Countyl Texas
16_00142 lVlalisa Chaney
CAUSE NO.
JAl\/lES HALL, § lN THE DlSTRlCT COURT
Plaintir-f, §
§ 294
v. § JUDlClAL DlSTRlCT
t §
PAUL BARN ETTE AND B&N §
CONTRACTORS, §
Defendants. § VAN ZANDT COUNTY, TEXAS

E_l=_AlNTlFF’S ORlGlNAL PETIT|ON AND REQUEST FOR DISCLOSURE
TO THE HONORABLE JUDGE OF SAID COURT:

COl\/lES NOW, James Hall, Plaintiff, and files Plaintiff’s Original Petition and
Request for Disclosure, complaining of Defendants, Paul Barnette and B&N Contractors,
and Would show unto the Court as follows:

l. SELECT|ON OF DlSCOVERY LEVEL

1. This suit is governed by discovery control plan ll under Rule 190.3 of the

Texas Rules of Civil Procedure.

ll. PARTIES
2. Plaintiff, James Hall, is an individual Whose address is 423 Harrison Lane, '
Hurst, TX 76053.
3. Defendant, Paul Barnette, is an individual Who resides at 459 Elmore l\/loore

Road, Shongalol LA 71072 and may be served With process at that address or Wherever
he may be located He may be served through the Transportation Commission. Citation
is requested for this Defendant and service Will be completed by a private process server.

4. Defendant, B&N Contractors, conducts business in Texas but does not
maintain a registered agent in the state of Texas. B&N Contractors is located at 152

EXH|B[|ll
PLAINTIFF's oRlGlNAL PETiTloN l

   
 

Case 6:16-cv-00499-KNl\/l Document 1-1 Filed 06/09/16 Page 2 of 10 PagelD #: 6

Danny l\/lills Lane, l-laynesville, LA 71038. This Defendant may be served through the
Texas Secretary of State. Citation is requested for this Defendant and service will be
completed by a private process server.
lll. JURlSDlCTlON AND VENUE

5. The Court has jurisdiction over the subject matter, because the damages
are within the statutory jurisdictional limits of the Court.

6. Venue is proper in Van Zandt County, Texas because all or a substantial
part of the events giving rise to this cause of occurred in that county.

lll. F_A_C_)_`l§-

7. This lawsuit results from an automobile collision that occurred on or about
July 2, 2015 on eastbound lH-20. Defendants followed Plaintiff too close|y, striking the
rear of Plaintiff’s vehicle. As a result of the impact, Plaintiff suffered bodily injury.

lV. NEGL|GENCE

8. At the time of the accident, Defendant, Paul Barnette, was operating his
vehicle negligently Additionally,'at the time of the collision Defendant Barnette was acting
in the course and scope of his employment with B&N Contractors Specifically, Defendant
Barnette and B&N Contractors vicariously had a duty to exercise ordinary care and
operate the vehicle reasonably and prudently. Defendant Barnette and B&N Contractors
vicariously,'breached this duty in one or more of the following ways:

a. Failure to maintain a proper lookout;
b. Failure to make such application of the brakes as a person using ordinary

care would have made;

PLAINTlFF’S ORIGINAL PETlTlON AND REQUEST FOR DlSCLOSURE - Page 2

 

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c. Failure to maintain proper control of the vehicle under the conditions then and
there existing;
d. Traveling atari unsafe speed; and
e. Failure to maintain an adequate distance between the vehicle and the vehicle
driven by Plaintiff.
Vl. RESPONDEAT SUPER|OR
9. At the time of the accident, Defendant Barnette was the agent, servant and
employee of B&N Contractors and was acting within the scope of his authority as such
agent, servant and employee. Defendant B&N Contractors is liable to Plaintiff for the
negligence of Defendant Barnette.
Vll. DAl\/lAGES
10. As a proximate result of Defendants’ negligence, Plaintiff suffered bodily
injury. Plaintiff suffered the following damages:
a. Physical pain and mental anguish in the past and future;
b. l\/ledical expenses in the past and future;
c. Physical impairment;
d. Lostwages; and
e. Property damage.
Vlll. PRAYER
WHEREFORE, PREl\/llSES CONSlDERED, Plaintiff, James Hall, respectfully
requests that Defendant Paul Barnette and B&N Contractors, be cited to appear and
answer, and on final triall that Plaintiff have judgment against Defendants for:

a. Actual damages;

PLA|NTIFF’S ORIGlNAL PET|T|ON AND REQUEST FOR D|SCLOSURE - Page 3

 

Case 6:16.-cv-00499-KNl\/l Document 1-1 Filed 06/09/16 Page 4 of 10 PagelD #: 8

b. Prejudgment and postjudgment interest as allowed by law;

c. Costs of suit; t

d. l\/lonetary relief over $200,000.00 but not more than $1,000,000.00; and
e. Any further relief, either in law or equity, to which Plaintiff is justly entitled.

|X. REQUEST FOR DlSCLOSURE

Pursuant to Rule 194 of the Texas Rules of Civil Procedure, please disclose all

information identified in Ruie194.2(a)-(i).

Respectfully submitted,

The Kashar Law Firm, P.C.
3010 LBJ Freeway, Ste. 1200
Dallas, TX 75234

Telephone: (972) 888-6018
Facsim~ile: (469) 249~9074
kashar@kasharlaw.com

 

/s/ Jennifer Kashar

By: Jennifer Kashar
State Bar No. 24002074

ATTORNEYS FOR PLAINT|FF

PLAINTlFF’S ORIGINAL PET|TION AND REQUEST F_OR DlSCLOSURE - Pag

 
 

Case 6:16-cv-00499-KNl\/l Document 1-1 Filed 06/09/16 Page 5 of 10 PagelD #: 9

 

 

 

CAUSE NO.16~00142

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Case 6:16-cv-00499-KN|\/| Document 1-1 Filed 06/09/16 Page 6 of 10 Page|D #: 10

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RETURN OF SERV|CE
16-00'142
THE STATE OF TEXAS
- ' 294TH D|STR¥CT COURT
COUNTY OF VAN ZANDT *~
JAMES HALL VS B&N CONTRACTORS

PLAtNTiFF'S 0RlGlNAL PET|T!ON AND REQUEST FOR DISCLOSURE

NAME AND ADDRESS FOR SERVICE:
B&N CONTRACTORS

152 DANNY MILLS LANE
HAYNESVILLE, LA 71038

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Case 6:16-cv-OO499-KN|\/| Document 1-1 Filed 06/09/16 Page 8 of 10 Page|D #: 12

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CAUSE NO.16-00142

 

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THE STATE OF TEXAS

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RETURN OF SERV\CE
16-00142
THE STATE OF TEXAS
294TH D|STR|CT COURT
COUNTY OF VAN ZAN DT
JAMES HALL VS PAUL BERNETTE

PLAINTlFF'S ORiGINAL PET|TION AND REQUEST FOR DISCLOSURE

NAME AND ADDRESS FOR SERV|CE:
PAUL BERNETTE

459 ELMORE MOORE RD
SHONGALO, LA 71072

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